                                 IN THE UNITED STATES DISTRICT COURT
                                FOR THE WESTERN DISTRICT OF VIRGINIA
                                          DANVILLE DIVISION



     UNITED STATES OF AMERICA
                                                             Criminal Action No. 4:18cr00011
     v.

     KEVIN L. TRENT, JR.


                                  RESPONSE TO COURT’S ORDER
                           REGARDING FINAL DRAFT JURY QUESTIONNAIRE


             Comes now the Defendant, Kevin L. Trent, Jr., by counsel, and submits this response

     to the Court’s Order, ECF 557, directing the parties to file any comments or objections

     regarding the Final Draft Jury Questionnaire.


             Generally speaking, the Defendant is satisfied with the proposed questionnaire.

     However, the Defendant objects to the inclusion of so-called AKAs at pages 11-12 of the

     Final Draft Jury Questionnaire. These AKAs assigned to the Defendant by the government

     on the face of the indictment were not names obtained by the Defendant through a lawfully

     recognized name change proceeding such as Virginia Code § 8.01-217. None of the

     assigned AKAs appear on documentation such as credit cards, lease agreements, or state-

     issued identification.


             The Defendant asserts that the assigned AKAs will not be helpful in ascertaining

     whether a juror knows the Defendant. Rather, names such as “Bad Ass” or “Six Owe” may

     only serve to prejudice a juror against the Defendant.


COOK ATTORNEYS, a professional corporation
71 Court Square, Suite B, Harrisonburg, Virginia 22801
(540) 564-9699; Fax (540) 564-9689; cook@cookattorneys.com

  Case 4:18-cr-00011-MFU-RSB Document 560 Filed 07/24/19 Page 1 of 3 Pageid#: 2619
        Respectfully submitted this 24th day of July, 2019,


                                                  KEVIN L. TRENT, JR.

                                                  By Counsel

                                                  /s/ Aaron L. Cook
                                                  Counsel for Mr. Trent

                                                  /s/ James C. Turk
                                                  Counsel for Mr. Trent




                                              2

Case 4:18-cr-00011-MFU-RSB Document 560 Filed 07/24/19 Page 2 of 3 Pageid#: 2620
                                    CERTIFICATE OF SERVICE

          I hereby certify that on this 24th day of July, 2019, I electronically filed the foregoing
  with the Clerk of Court using the CM/ECF System which will send notification of such filing
  to all parties.

                                                      /s/ Aaron L. Cook
                                                      Counsel for the defendant




                                                  3

Case 4:18-cr-00011-MFU-RSB Document 560 Filed 07/24/19 Page 3 of 3 Pageid#: 2621
